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AO 91(Rev.08/09) CriminalCompl
                             aint

                                U NITED STATES D ISTRICT C OURT
                                                        forthe
                                             Southern DistrictofFlorida

               United StatesofAm erica
                           V.
                                                                casexo. I9.-6q3--pRgbs-.'Vbe?.f=.f
                  EVELIO SUAREZ,




                                             CRIM INAL COM PLAINT

        1,thecomplainantin thiscase,statethatthefollowing istrueto the bestofmy knowledgeand belief.
Onoraboutthedatets)of               2013-2015                 inthecountyof              Miami-Dade           inthe
   Southern    Districtof           Florida           ,thedefendantts)violated:
          CodeSection                                             OffenseDescri
                                                                              ption
18U.S.C.j 1956(h)                        Conspiracy to CommitMoney Laundering
18 U.S.C.j215                            Briberyofa Bank Employee
18U.S.C.j1512                            O bstruction ofJusti
                                                            ce




        Thiscriminalcomplaintisbased on thesefacts:
See attached affidavi
                    t.




        W Continuedontheattachedsheet.

                                                                                  Compl
                                                                                     * ainant?
                                                                                             ssignature '
                                                                                                        -
                                                                                                        N

                                                                           Timothy Lawl
                                                                                      er,FBISpecialAnent
                                                                                   Printednameand title

Sworn to beforem eandsigned in my presence.


Date:          06/21/2018
                                                                                     Judge'
                                                                                          .
                                                                                          &signature

City and state'
              .                                                           U .S.M agistrate Judge EdwinG .Torres
                                                                                   Printed nameandtitle
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                               A ffidavitin Support ofCom plaint

        1,Tim othy Law ler,being firstduly sworn,hereby depose and state as follows:

               lam aSpecialAgentwiththeFederalBureauofInvestigation(EtFB1'')MiamiField
 Office and have been em ployed in thiscapacity since Augustof 1999. Iam currently assigned to

 the public com zption unit. 1have been involved in num erous investigations involving fraud and

 m oney laundering.

        2.     This affidavit is subm itted in support of a crim inal com plaint charging the

 defendantEvelio Suarezwith:(i)conspiracyto engageinmoney laundering,inviolationofTitle
 18,UnitedStatesCode,Sections1956(a)and (h);(ii)theftofgovernmentmoney,inviolationof
 Title 18,United StatesCode,Section 641,(iii)bribery ofabank employee,inviolation ofTitle
 18,UnitedStatesCode,Section215,
                               'and(iv)obstructionofjustice,inviolationofTitle18,United
 StatesCode,Section 1512.

        3.     The factscontained w ithin this affidavitare both personally know n by m e,asw ell

 as relayed tù l'
                ne by others,including rnernbersof1aw enforcelnent and otherwitnesses. This

 affidavitsets forth only those facts thatl believe are necessary to establish probable cause. A s

 such,lhave notincluded each and every factknown aboutthis investigation.

                                           O verview

        4.     From atleastasearly as2010,continuing through in oraround 20159thedefendant

 know ingly agreed and conspired w ith others to launder the proceedsofhealthcare fraud,identity

 thefttax refund fraud,m ortgage fraud,and otherfraud atcheck-cashing storesthatthe defendant

 controlled in South Florida through nom inee ow ners.

               The essence of the schem e w as that defendantallow ed scam m ers to cash checks

 from fraudulentactivity madeoutin thenamesofûtghosts'' eithernominee individuals(often
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 individualswhohadfledtoCuba)orindividualswhoseidentitieshadbeen stolen. ln doing so,
 the defendantallow ed the scam m ers to concealtheirinvolvem entin receiving the proceedsofthe

 fraud.

          6.     B'
                  ecause the defendant knew the funds cam e from illegal sources,the defendant

 charged an additionalpercentage on top ofthe standard fee charged by the check-cashing stores.

 The defendanttypically charged apersonalfee ofbetw een ten percentto thirty percentdepending

 on the type offraudulentproceeds.

                 Duringasampleperiodof2013and 2014 (theE6relevantperiod'),thedefendant's
 check-cashing storescashednearly $500 m illion in checks.l Based on areview ofthosechecks,a

 majority ofthechecksatthe defendant'sstoresappearto comefrom healthcare fraud,identity
 theft,m ortgage fraud,and otherfraudulentactivity.z

                      B ackground - The Defendant's C heck C ashing Stores

          8.     D uring the relevantperiod,the defendant controlled three stores in South Florida

 operated through'nolninee owners: M inimalist Solutions,lùc.(stM inimalisf') Don Koky,
 EnterprisesCorp.(EEDon Koky'')'andDogerGroup lnc.(EEDoger'')(together,theEEnomineecheck-




 1        The govem m entrestricted its analysisto thistime period given the massive volum e ofthe checks
          cashed atthedefendant'sstoresin thatperiod. The governm entidentified approximately 150,000
          checks cashed atthe defendant's check-cashing store during the relevantperiod. ltis a highly
          laboriousand tim ely processto inputthesechecksmanually into a spreadsheetforanalysis.

          Asforotherfraudulentactivity,many ofthecheckscashed com efrom companiesthatappearto be
          engaged in workers'com pensation fraud in the construction industry.Forexample,therearerepeat
          checksfrom thesamecompanieswith constructionorcontractingnameoften forlargesums(e.g.s
          each over$40,000). ln South Florida,itis common practice for constm ction companiesand
          contractors to pay workers through shellcompanies in order to hire undocumented workersand
          avoid paying workerscompensation. Thisactivity,although prevalentatthe store,isnotdetailed
          in this affidavit. The governmentisaware thatthe defendantprovided inform ation to a workers'
          comp task force aboutworkers'comp related fraud during therelevantperiod.
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 cashingstores''l.3 Thethreestoreshavethefollowingsimilarities:(i)alargenumberofchecks
 formassiveamounts(manyexceeding$100,000)4,
                                          .(ii)alargenumberofchecksmadepayableto
 thesamepayeescashed ineach ofthestores;and(iii)a1lthreestoresbankedatthesamefinancial
 institution PeoplesCreditUnion(ttPCU'') headquarteredinPembrokePines.
         M inimalist- $305M illion in C/lcc/ca

         9.       M inim alistw as a check-cashing store located at3118 W est 76 Streetin H ialeah,

 Flolida. During the relevantperiod,M inim alistcashed approxim ately $305 million in checks.

 Below isasampleofsomeofthelargestcheckssortedbytypeoffraud scheme(e.g.,health-care
 fraud,identitythefttaxrefund fraud,ormortgagefraud)cashedatM inimalist:

                              M inim alist- H ealth Care F raud Checks
       D ate       A m ount              Pa or                              Pa ee
      5/9/2014     $429,723           O tumltx                     Pronto Phannac Grou
     3/18/2014     $346,037         Cashier'sCheck                      B PlusH Care
     5/13/2014     $245,992           O tum ltx                    Pronto Pharmac Grou
      11/5/2013    $239,500           Carem ark                     UltraM edicalServices
     4/21/2014     $201,322           O tum ltx                    Pronto Pharm ac Grou
      3/4/2014     $199,968         CM S M edicare                   GetW ellSoon Co .
     10/16/2013    $192,362            M DCO                      8th StreetPhannac Co .
     2/18/2014     $189,736           Carem ark                     BetterLifePharm ac
     3/11/2014     $188,187         CM S M edicare                   GetW ellSoon Co .
      3/7/2014     $187,744         CM S M edicare                   GetW ellSoon Co .




 3       The defendantoperated these stores through nominee owners during the relevantperiod because
         state authorities arrested the defendant in 2012 for laundering the proceeds of workers'
         compensation fraud schem es. The defendant'sprobation conditionsprohibited hisinvolvem entin
         check-cashing stores.

         ltisparticularlyunusualforacheck-cashingstoretocashchecksover$100,000.M ostpeoplewith
         largechecksuse the servicesofbanks. Also,mostcheck-cashing storesare leery ofcashing such
         a check because a bounced check forthisam ountcould wipe outthestore'sprofits.
                                                  3
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                     M inim alist- Identi The tTlx Re und F raud Checks
        D ate     A m ount             Pa or                           Pa ee
   7/24/2013      $153,284    U .S.Treasur    Tax Refund               J.C.
   7/26/2013      $151,192    U.S.Treasur     Tax Refund               D.D.
   5/24/2013      $150,873    U.S.Treasur     Tax Refund               L.A.
   7/12/2013      $150,809    U.S.Treasur     Tax Refund               M .P.
    8/2/2013      $135,708    U.S.Treasu      Tax Refund               M .B.

                           M inim alist- M ort a e F raud Checks
        Date      A m ount            Pa or                            Pa ee
   5/9/2013       $377,500             R.M .                  Certified Ca italServices
   1/30/2013      $125,107        TorreRosaTitle              Certified Ca italServices
   1/28/2013       $99,129        TorreRosaTitle              Certified Ca italServices
   1/28/2013       $51,745        TorreRosaTitle              Certified Ca italServices
   1/29/2013      $49,278         TorreRosaTitle                AceVestorsGrou

         DonKok'v --$83M illion in C'
                                    /icc/c.
                                          ç

                Don K oky w as a check-cashing store located at 1840 W .49 Street in H ialeah,

 Florida. During the relevantperiod,Don Koky cashed approxim ately $83 million in checks.
 Below isa sam ple ofsom e ofthe largestcheckscashed atDon Koky:

                                D on Ko - F raudulentChecks
    '
      Date        Am ount '        Pa or                                'a ee              :'
   7/18/2014      $329,121     CM S M edicare                Dem osthenesHom eHealth
   7/22/2014      $219,528     CM S M edicare                Dem osthenesHom eHea1th
    7/3/2014      $203,267     CM S M edicare                DemosthenesHom eHea1th
   9/17/2013      $198,942         M edco                     8th StreetPharm ac Co
   7/24/2014      $188,141     CM S M edicare                DemosthenesHom e Hea1th
   7/23/2014      $176,379     CM S M edicare                Dem osthenesHome Health
   7/l1/2014      $172,231     CM S M edicare                Dem osthenesHome Health
    8/9/2013      $149,000 U.S.Treasury Tax Refund                       E.M .
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                                D on K o    - F raudulentChecks
     D ate        A m ount                Pa or                          Pa ee
   9/18/2013      $148,250                J.C.N.                         J.C.N .
   11/13/2013     $l17,555                M DCO                    Harm on Pharmac

         Doger- $87M illion in C'
                                /lcc/c.
                                      ç

         11.    Dogerwaslocated at1544 W .49 Streetin Hialeah,Florida. During therelevant

 period,Dogercashed approxim ately $87 m illion in checks. Below isa sample of som e ofthe

 largestchecks cashed atD oger:

                                  D o er - F raudulentChecks
     D ate        A m ount             Pa or                             Pa ee
   9/27/2013      $234,250              J.C.N.                           J.C.N .
   10/6/2013      $149,512              M DCO                     Hannon Pharm ac
   1/30/2013      $125,106         TorreRosaTitle              Certified Ca italServices
   12/9/2013      $118,977              M DCO                  8th StreetPharmac Co .
    2/4/2013      $115,246    U .S.Treasur Tax Refund                     R.G.
   7/14/2014      $105,829        Prim eThera eutics            Zu Pharm ac Discount
   6/16/2014      $104,534        Prim eThera eutics            Zu Phannac Discount
    7/3/2014      $104,491             O tum rx                LiliPharm ac & Discount
   5/19/2014      $104,103             O tum ltx                Zu Pharm ac Discount
   1/28/2013      $99,128          TorreRosaTitle              Certitied Ca italServices

                The D efendantC ontrolled the N om inee Check-c ashing Stores

         12.    W itnesses and financial records confinn that the defendant controlled a1l three

 check-cashing stores.

         Confldential Witness l (''CW 1''). DefendantBribed a Bank Of/l
                                                                      -ccr Relatinz to the
         N om inee Check-cashing Stores

         13.    CW 1 is a form erbalzk com pliance ofticerconvicted ofbribery ofabank officialin

 2016.




                                                   5
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               CW 1 explained thatthe defendantapproached him /herduring the relevantperiod

 about obtaining PCU m onthly bank statem ents for M inim alist, D on Koky, and D oger. The

 defendantoffered CW 1approxim ately $400 each week forcopiesof PCU batlk statem entsfor
 each ofnom inee check-cashing stores. The defendantexplained thathe received a percentage of

 revenue from the storesand wanted to ensure thatthe nom inee ownersdid notshorthim .

        15.    CW 1 agreed and provided m onthly statem ents to the defendant for each of the

 check-cashing stores. ln exchange,the defendantpaid bribepaym ents to CW 1'sspouse in cash at

 one ofthe defendant's check-cashing stores.

        16.    CW 1 also agreed to provide short-term cash advances from PCU to each of the

 defendant's check-cashing stores. CW 1 authorized short-term cash advances so thatthe nom inee

 check-cashing stores would have sufficientcash to pay outchecks. In particular,CW 1 agreed to

 lend substantialfunds(greaterthan $100,000)from PCU in exchange forcash payments. The
 check-cashing stores would typically cover this cash outage in a few days by depositing large

 volumeofchècks.Thedefendantspicifically assured CW 1ihathewould coverany shortagesfor

 the nom inee check-cashing stores.

        17.    On oneoccasion,thedefendantapproachedCW 1aboutcashinga $1m illioncheck.
 The defendantoffered to pay CW 1 thirty percentofthe value ofthe check. CW 1 declined to cash

 thischeck.

        Confl
            -dentialWitness2(6'CW2''),Confl
                                          -dentialWitness3(''CW3'')toConfl
                                                                         -dentialWitness
        (''CW4''):DefendantControlled theNomineeCheck-cashingStores
        18.    Starting in oraround late 2012,CW 2 and the defendantagreed to have CW 2 actas

 thenomineeownerfortheM inimaliststore(thenunderadifferentname)forashortperiod.The
 defendanthad previously owned and controlled the store atthis location. CW 2 said thathe/she

 agreed to have the defendantcontinue to bling in clients to the store in exchange fora splitofthe

                                                6
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 profits. CW 2 said that he/she m aintained the sam e tellers that had previously w orked for the

 defendant. CW 2 advised thatthe tellershad strong loyalty to the defendant.

        19.    From the outset,CW 2 told the defendantnotto cash tax-refund checks atthe store.

 How ever,shortly afterw orking together,CW 2 discovered thatthe storecashed a tax-refund check

 worth several tens of thousands of dollars. CW 2 reiterated to the defendant not to cash these

 checks. CW 2 later discovered the defendantcashed hundredsofthousands oftax-refund checks

 and subsequently ended the relationship with the defendant.

        20.    CW 2 recalled one occasion thatthe defendantprovided Louis V uitton shoes as a

 giftto CW 2. Recordsshow thatthe defendanthas spentover$150,000 atLouis Vuitton since
 2012. CW 2 recalled that the shoe size did not fitand that Louis Vuitton w ould not accept the

 return. CW 2 observed the defendantm ake a cash paym entto a Louis V uitton em ployee to accept

 the return.

               Starting in or around 2013,CW 3 acted as the nom inee ow ner forthe M inim alist

 store. CW 3 said thathe/she agreedto hàvethedefendantcontiriue to bring clientsto th8 storein

 exchange fora splitofM inim alist'sprofits.CW 3 m aintained the sam e tellers thathad previously

 w orked forthe defendantw ho had strong loyalty to the defendant.

        22.    CW 3 said he/she agreed on a fifty/fifty split of M inim alist profits w ith the

 defendant. CW 3 explained thatthe profits cam e from the fee charged by the store for cashing

 checks (approximately one to two percent). CW 3 said thathe/she would typically write the
 defendanta check fordefendant'sshare ofprofitsto a company called 1&T Proffessional(sicq
 Service(ttl&T Service').1&T ServiceisadissolvedcompanyregisteredwiththeStateofFlorida
 in the defendant'snam e.
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               The United Stateshasobtained copiesofthe I& T Service bank account. There are

 a num ber ofchecks cashed in this account from M inim alistfor fEconsulting fees.'' For exam ple,

 therearethree checks from M inim alistto l&T Service totaling $13,360 a1ldated April3,2014.
 The checks have w hatappearsto be the defendant's signature on the back.

        24.    CW 3 explained that the defendant had a sim ilar profit-sharing agreem ent w ith

 Dogerand Don K oky. CW 3 said the defendantcom plained thatCW 3 w ould notpay him in cash

 forhisshare the way thatthe nom ineesatD on K oky and D ogerdid.

               CW 4 selwed asthe nom inee ow nerofthe defendant'sstore priorto 2012. CW 4 has

 close know ledge of the defendant's personalactivities. CW 4 said that the defendant controlled

 m ultiple check-cashing stores in 2013. CW 4 advised thatthe defendantused to m aintain 14 or 15

 prepaid cellphones to com m unicate w ith co-conspirators,such as tellers and others who brought

 fraudulentchecks. CW 4 said thatthe defendantwould throw aw ay the phones every m onth and

 buy new ones forcom m unication. CW 4 said that the tellers had deep loyalty to the defendant.

 CW 4 said thatthedeféndantalwaysclroveluxuryvehicles,likeAston M artin,M aserati,M ercedes,

 and BM W . CW 4 said thatthe defendanthad 32 w atches,prim arily Rolex and Cartier.

        FinancialRecords: DefendantUsed Funds from theNominee Check-cashing Stores to
        Acquire RealEstate

        26.    D uring the course of the fraud, the defendant acquired a num ber of real-estate

 properties in South Florida since 2013 through a shell corporation - East Coast Property

 AcquisitionLLC (ttEastCoastProperty'').EastCoastPropertylisted thedefendant'sattorney as
 the m anager in the Florida Division of Corporation records. The defendant acquired these

 propertiesusing funds from the nom inee check-cashing stores.




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                EastCoastProperty acquired a property in SunsetLakes in M iram ar - 4556 SW

  186 W ay. In 2014,Don Koky transferred approxim ately $324,900 in fundsthatultimately went
  to the purchase ofthe property.

         28.    EastCoastProperty acquired an additionalproperty in SunsetLakesin M iram ar-

  4128 SW 195 Terrace. ln 2014,M inimalisttransferred approxim ately $57,000 in funds that

  ultim ately wentto thepurchase ofthe property.

         29.    East Coast Property acquired an additionalproperty in M iram ar- 3400 SW 185

  Avenue. ln 2015,Don Koky transferred approximately $200,000 in fundsthatultimately went
  tow ardsthe purchase ofthe property.

                     The DefendantK now ingly Cashed FraudulentC hecks

         30.    W itnesses confil.m thatthe defendantknow ingly cashed fraudulently obtained tax

 refund fraud,m ortgage f'
                         raud,and health care fraud checksatthe nom inee check-cashing storesin

 exchange forapersonalpaym ent.

         Confl-dentialWitness 5 (''CW5''). DefendahtKnowinzlv Cashed FraudulentA/br/ztzzctf
         Tax Refund C/lcc/a
                CW 5 wasconvicted ofan identity thefttax refund fraud schem e in 2016.

                CW 5 said thathe/she started cashing checksw ith the defendantin oraround 2010.

  CW 5 said that he/she initially brought m ortgage-fraud related checks to the defendant. CW 5

  explained that CW 5 w rote the checkspayable in the nam es of individuals;typically,individuals

  thatnever entered the store. CW 5 said the defendantcharged betw een six and thirty percentfor

  cashing these m ortgage fraud checks. CW 5 explained that he/she brought checks as large as

  $500,000 to the defendant. CW 5 believed thathe/she had broughtapproxim ately $4,000,000 in
  m ortgage fraud checksto the defendant.
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                 ln oraround 2013,CW 5 m etw ith the defendantatthe M inim aliststore in M iam i.

  CW 5 said thathe/she obtained fraudulenttax refund checks---each for approxim ately $150,000
  and discussed cashing these checks. C575 and the defendant agreed to cash these checks in

  exchange fora 30% fee forthe defendanton the checks.

         34.     CW 5 explained thathe/she broughtthe checks personally to the defendant. CW 5

  said the defendantw ould typically give CW 5 cash atthe back ofthe store. On one occasion,the

  defendantgave CW 5 approxim ately $300,000 in cash outside ofPeople's CreditUnion. CW 5
  also said thatsom etim esthe tellersw ould give cash back to the defendantoutside the store. CW 5

  explained thatCW 5 would som etimestip the tellersasmuch as$1,000 outsidethestore.
         35.    CW 5 furtherstated thathe/she only com m unicated with the defendantvia prepaid

  cellphones. CW 5 said thathe/she saw the defendantw ith 4 or5 prepaid phones ata tim e.

         36.    Bank records show five differenttax refund checks cashed atM inim alisteach for

  approxim ately$150,000 and onetaxrefund checkcashed atDonKoky for$150,000betweenM ay

  andAugtzst2013(asshowninpàragraphs9and 10).Law enforcementhascontactedasampleof
  individuals whose nam es appear on the checks. Each confirm ed they w ere victim s of identity

  theft. M oreover,1aw enforcem enthasreviewed the driver's licenseson file atthe check-cashing

  store forthese checksand allofthem are fake.

         Confl-dentialWitness 6 (.''CW6''): D efendantKnowinglv Cashed FraudulentH ealth Care
         tf Tax Refund C/lcc/cç
         37.    CW 6 w as convicted ofm oney laundering in 2014.

         38.    CW 6 said that he/she m et the defendant in or around 2011. CW 6 said that the

  defendantgotinto legaltrouble in or around 2012 and had nom inee owners atM inim alist,D on

  Koky,and D oger.
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         39.    CW 6 said that he/she initially brought construction com pany checks to the

  defendant. CW 6 said thathe/she setup shellcom paniesthatconstruction com panies used to pay

  w orkers who did not have legal status and avoid paying w orkers'com pensation. CW 6 brought

  these checks from construction com paniesto the defendantto cash.

        40.     CW 6 later asked the defendant about cashing health care checks. CW 6 had a

 meetingwiththedefendantandthedefendantagreedtocashthesechecksforatenpercentfee(on
 top ofthecheck cashing store'spercentageofoneahalfto twopercent). CW 6 said thathe/she
 splitthe ten percentfee with the defendant.

                CW 6 said that he/she brought in checks from several different pharm acies,

 including,amongothers,thefollowingpharmacies:SunView Pharmacy,LatinQuarterPharmacy,
 QualityPhannacy,R-2QualityPharmacy,EmergenciaPhannacy,andDiscountPharmacy.CW 6
 said thathe/shebroughtin num erous individualchecks valued at$50,000 orhigher. CW 6 said

 thathe/she ultim ately wasbringing in approxim ately $800,000 in phannacy checksper week.
 CW 6 explailied thatthe nom inee owners of these pharm acies had typically fled to Cuba. CW 6

 said thathe/she often broughtthe checks directly to the defendant.

        42.    Law enforcem enthasreviewed checkscashed in thenameofSun View Pharm acy.

 M inim alistcashed approxim ately 55 checksforSun View Pharm acy totaling approximately $1.5
 m illion from A pril2014 through July 2014. D on K oky cashed approxim ately 36 checks for Sun

 View Phannacy totaling approxim ately $1.1m illion from M arch 2014 through August2014.
                CW 6 said thathe/she also broughtfraudulenttax refund checks to the defendant.

  CW 6 acknowledged thathe/she did nothave realidentification docum ents orauthorization from

  the people whose nam es appeared on the checks. CW 6 said thatthe defendantwould m ake fake

  identification docum ents ifnecessary forthe checks.
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         44.     CW 6 said that,on occasion,the defendantasked CW 6 to bring checks from one of

  the defendant'scheck-cashing stores to anotherbecause the store had too m any checks.

         Confl
             -dential Witness 7 (''CW7''): DefendantKnowinzlv Cashed Health Care Fraud
         C/lcc/cs

         45.    CW 7 w asconvicted ofhealth care fraud in 2016.

         46.    CW 7said thathe/shebroughtfraudulenthealth carefraudchecksto anothercheck-

  cashing storein oraround 2013 and 2014.Therewasan issuein cashing around $100,000 worth
  of these checks. The owner of the other check-cashing store explained thatthe defendanthad

  issues cashing these checksand broughtCW 7 to m eetthe defendantto explain the situation.

                CW 7 m etthe defendantatV ersailles restaurantin M iam i,Florida. The defendant

  anived atthe store in Louis Vuitton attire and m etboth CW 7 and the other check-cashing store

  ow ner. The defendant told CW 7 that the defendanthad an issue cashing CW 7's checks. The

  defendantsaid thathe typically charged ten orm orepercentforhealth care fraud checks,buthe

  offered to cash the checks for less than ten percent untilCW 7 m ade up the loss am ount. CW 7

  declined to cash these checks w ith the defendant.

         ConfldentialWitness8 (''CW8''): DefendantRecruited anIndividualto CashM ortgage
         Fraud C/lcckç

         48.    CW 8 cashed checksfrom accountsthatreceived fundsin a m ortgage fraud schem e,

  including atone ofthe defendant's stores, The underlying m ortgage fraud involved subm itting a

  straw buyerfora property and using a fake title com pany to receive the funds. ln the schem e,the

  property neverwastransferred. The schemenetted approxim ately $3.7 m illion in fraud proceeds
                    CW 8 advised thathe/she hasknow n the defendantsince 2002. ln the sum m er of

  2015,the defendantm et CW 8 at a store in H ialeah. The defendant asked CW 8 to cash checks

  payableto CW 8 fora 3% fee ifcashed ata check-cashing store ora 4% fee ifdeposited into CW 8's
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  bank account. These checksa11cam e from the bank accountsthatreceived fraudulentfunds in the

  m ortgage fraud schem e.

         50.    In July and August2015,CW 8cashed approxim ately$250,000in checksfrom the
  m ortgage fraud schem e m ade payable to CW 8 or CW 8's com panies. CW 8 explained thatal1of

  thesecheckscam efrom the defendant. On oraboutJuly 21,2015,CW 8 cashed a$44,000 check

  from the m ortgage fraud schem e received from the defendantat D oger Group. CW 8 said the

  defendantdirected CW 8 to go to D ogerG roup.

               The D efendantlnstructed W itnessesto Lie Before the G rand Jury

         51. TheUnitedStatesissuedgrandjurysubpoenastoseveralofthedefendant'stellers.
  Thesetellers,includingConfidentialW itness9(ttCW 9''),testitiedbeforethegrandjuryinJanuary
  2015. ln their testim ony,the tellers generally denied the defendant's involvem entin the check-

  cashing stores ofM inim alist,Don K oky and D oger.

                ln m id-2017,CW 9 m et w ith law enforcem entregarding his/her testim ony. CW 9

  acknow ledged thathe/she had notaccurately described defendant's involvem entduring hergrand

  jurytestimony.CW 9 explainedthat,priortohis/hergrandjurytestimony,thedefendantsetup a
  m eeting w ith the defendant,the tellers,and thedefendant'sattorney atarestaurantin M iam i.CW 9

  said thatthe defendanttold the tellersthatthey could nottestify thatthe defendantran the stores.

  CW 9 said that the defendant w ould m ake a1l of it go aw ay. CW 9 explained that he/she had

  recentlyemigrated from Cubaandfeared losinghis/herjob ifhe/shedid nottestifyasdefendant
  requested.

         53.    CW 9 explained thathe/she cashed largepharm acy checksatan approxim ately 10%

  fee atthe direction of Suarez. CW 9 furtherrecalled cashing large tax refund checks for CW 5 for




                                                13
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  foran additionalfee. CW 9 also admitted thathe/she had aprepaid phone atthe store thatthe

  tellersw ould use to com m unicate w ith the defendantforautholization on cashing checks.

                                         CO N C LU SIO N

          54.   Based on the foregoing,lrespectfully subm itthatthere isprobable cause to believe

  that,from 2013to2015,thedefendanthasengagedin(i)conspiracytocommitmoneylaundering,
  inviolationofTitle l8,United StatesCode,Section 1956(h),
                                                         '(ii)theftofgovernmentmoney,in
 violationofTitle18,UnitedStatesCode,Section 641,
                                                '(iii)briberyofabankofticialinviolation
 ofTitle 18,United StatesCode,Section 215'
                                         ,and (iv)obstruction ofjustice,in violation ofTitle
  18,United StatesCode,Section 1512.



                                                                  v>
                                                                   .
                                                           -
                                                                     N
                                                     Tim othy Law ler
                                                     SpecialAgent
                                                     FBICrim inallnvestigation


 SubscriJ
        bedJndsworntobeforeme
 On Jun     I,2018.


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